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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,      )
                                )
      Plaintiff,                )
                                )
                  v.            ) Civil Action No. 1:04-cv-00798-PLF
                                )
                                )
 ALL ASSETS HELD AT BANK JULIUS )
 BAER & COMPANY, LTD., GUERNSEY )
 BRANCH, ACCOUNT NUMBER 121128, )
 IN THE NAME OF PAVLO           )
 LAZARENKO, LAST VALUED AT      )
 APPROXIMATELY $2 MILLION IN    )
 UNITED STATES DOLLARS, ET AL., )
                                )
      Defendants.               )

 CLAIMANTS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF HIS MOTION
        TO WITHDRAW OR MOTOIN FOR SUMMARY JUDGMENT

        Pursuant to 18 U.S.C. § 981(a) and Federal Rule of Civil Procedure 56, Claimant Pavel

Lazarenko submits this reply in further support of his motion for leave to withdraw his claim or in

the alternative summary judgment. As set forth below, the Court should dismiss the claim or

alternatively release the funds to Mr. Lazarenko. Regardless, the matter needs to be resolved now.

                                         ARGUMENT

        Pavel Lazarenko seeks to withdraw his claim to the Tanas AG account. The Government

objects to this request claiming that Pavel Lazarenko needs leave to amend his claim. It asserts

that, absent a court order, he cannot withdraw his claim to one bank account which has a de

minimis balance. The Government cites no authority for this proposition.

        The Court should dismiss the Claim or alternatively grant Mr. Lazarenko leave which

will allow him to dismiss the claim. Mr. Lazarenko seeks to bring this to an end. The parties




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agree that the claim should be dismissed with prejudice. ECF 1214, p. 8. The Court should

dismiss the claim, which will fully resolve this matter.

        If Mr. Lazarenko cannot withdraw his claim, summary judgment is warranted because the

Tanas AG account does not contain any proceeds. The Government’s tracing report does not

claim that the funds in the account are criminally derived proceeds from any of the schemes

identified in the Amended Complaint. In fact, the Petron Tracing Report and the Second Petron

Tracing Report identified 26 schemes as sources of illegal payments (Claimants would submit

that only about half of these 26 sources appear in the Amended Complaint or the discovery).

Despite this incredibly broad definition of proceeds, Petron is unable to determine that the

account contains tainted money. Further no witness provides specific testimony about the

transactions into, or out of, this account. The records provided by the Government are

inadmissible hearsay and the Government does not even have records showing the source of the

funds into the account.

        Because there is no evidence that the account contains tainted money (admissible or

otherwise), the Government cannot establish that the account contains proceeds from a violation

of the Interstate Transportation of Stolen Property Act, 18 U.S.C. §§ 2314 & 2315. Therefore,

the Government cannot meet its burden as to Count One. Likewise, because the Government

cannot show by a preponderance of the evidence that the funds in the account are proceeds of a

foreign (be it Swiss or Ukrainian) crime (be it embezzlement, extortion or bribery). The funds in

the account are clean. Therefore, Claim Four fails as well (Claims Two and Three were

dismissed).

        Likewise, Claims Five through Eight, the four money laundering claims, should not

survive this motion. For example, Paragraph 146 of the Amended Complaint states:



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                Pavel Ivanovich Lazarenko and/or his associates caused or
                intended to cause the transportation, transmission, or transfer of
                funds from a place in the United States to or through a place
                outside the United States and/or from a place outside the United
                States to or through a place in the United States knowing that the
                funds involved in the transfer represented the proceeds of some
                form of unlawful activity and knowing that such transportation
                transmission or transfer was designed in whole or in part to
                conceal or disguise the nature, the location, the source, the
                ownership or the control of the proceeds of a “specified unlawful
                activity,” …

Id. Simply put, the transaction must contain proceeds from a specified unlawful activity. United

States v. Howard, 245 F. Supp. 2d 24, 32 (D.D.C. 2003) (“To convict the defendant of money

laundering, the government had to prove that [the defendant] had derived property from a specified

unlawful activity and that he engaged in a monetary transaction involving that property.”) (internal

quotation omitted). The Government cannot make this showing so the four money laundering

Claims for forfeiture must be denied.

        Finally, because the Tanas AG account does not contain proceeds and because the

transactions in the account occurred after the time period of the alleged money laundering

conspiracy, the Government has no need for any additional discovery pertaining to this account.

        WHEREFORE, Pavel Lazarenko requests that the Court grant his motion for partial

summary judgment and enter an order pursuant to Fed. R. Civ. 54(b).

                                              Respectfully submitted,


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